
*408OPINION.
Smith:
1. The petitioner has not introduced any evidence from which it can be determined that there was any error on the part of the respondent in his computation of deductible depreciation.
2. In its petition the taxpayer alleges error on the part of the respondent in increasing its net income for the year 1921 in the amount of $2,119.80, representing a part of a reduction in inventory at the close of the year by reason of unsalable merchandise. We are satisfied from the evidence that the merchandise was unsalable and that the respondent was in error in adding back to net income of 1921 the $2,719.80 in question.
3. The parties have stipulated that the respondent in determining the amount of earnings available for the payment of a dividend on June 1, 1921, deducted $2,557.46. This deduction was unwarranted. Appeal of L. S. Ayers &amp; Co., 1 B. T. A. 1135.
Motion for judgment, made on behalf of the respondent, is denied.

Judgment will be entered on 15 days' notice, under Bule 50.

Considered by Littleton and Love.
